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A0440tRev.06/12)SummonsinaCivilAction

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    x-,''              Plûintclî)
                          A!.                                CivilAction No.



5-JJ'1o;Jr,s
           u4e11,
                4.1-/ De#ndantls)
                                        SUM M ONS IN A CIW L ACTION

To:(Defendant'
             snameandaddress)

       23 /.&x Jr,cke/#c /
   %n5 s fthtt,zw 6
           /4/' 4,/, Az/r/4 z3lao
     A lawsuithasbeen filed againstyou.

            W ithin21daysafterserviceofthissummonsonyou(notcountingtheday you receivedit)- or60daysifyou
arethe United StatesoraUnited Statesagency,oran oftkeroremployee ofthe United Statesdescribed in Fed.R.Civ.
 P.12(a)(2)or(3)- youmustserveontheplaintiffananswertotheattachedcomplaintoramotionunderRule12of
 theFederalRulesofCivilProcedure.The answerormotion mustbeserved on the plaintifforplaintiv sattorney,
 whose name and addressare'

                              Lrl'
                                ae-
                        /.5-45 && Y/&/m.
                                            ttaA i Fjop 'q x a. ts uo
                                                                 .

            Ifyoufailtorespond,judgmentbydefaultwillbeenteredagainstyouforthereliefdemandedinthecomplaint.
 You also m ustfileyouranswerormotion with thecourt.


                                                                CLERK OF CO URT


 D ate:
                                                                         SignatureofclerkorDepul.
                                                                                                pC/erk
#
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    A0M 0tR:v.06/12)SummonsinaCi
                               vilAction(Pag:2)
     CivilActionNo.

                                                   PROOF OF SERVICE
                     (Thissection shouldnotbe#ledwith thecourtunlessrequiredbyFe2 R.Civ.P.4(0)
            Thissumm onsfor(nameofindividualandtitle,t/Wzl
                                                         -v
                                                          .l
     wasreceived by m eon (dqte)

             O lpersonally served thesummonson the individualat(pl
                                                                 ace)


             O Ileftthe summ onsattheindividual'sresidenceorusualplaceofabode with (name)
                                                         ,aperson ofsuitable ageand discretion who residesthere,
             on (date)                      ,and mailed acopy totheindividual'sIastknown address;or
             O lserved thesummonson (nameofindividuao                                                         ,who is
             designated by law to acceptservice ofprocesson behalfof(nameoforganization)


             O Iremrned thesum monsunexecuted because

             O Other(spechl:



             M y feesare$                   fortraveland $                 forservices,foratotalof$        0.00         .


             Ideclareunderpenaltyofperjurythatthisinformationistrue.

     Date:
                                                                               Server'
                                                                                     ssignature


                                                                             Pri
                                                                               ntednameand title




     Additionalinformation regarding attempted service,etc:
